        Case 18-17608-amc                         Doc          Filed 10/11/24 Entered 10/11/24 18:03:46                                 Desc Main
 Fill in this information to identify the case:
                                                               Document      Page 1 of 7

 Debtor 1          Michael  Melendez
                   __________________________________________________________________

 Debtor 2              Phyllis Melendez aka Phyllis Napier-Melendez
                       ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern                Pennsylvania
                                         __________ District of __________

 Case number           18-17608-amc
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                              Bear Stearns Asset Backed Securities Trust 2004-AC1, Asset-
                              Backed Certificates, Series 2004-AC1, U.S. Bank National
 Name of creditor: _______________________________________
                   Association, as Trustee                                                                                2
                                                                                              Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                       Date of payment change:
 identify the debtor’s account:                                  9 ____
                                                                ____ 0 ____
                                                                         9 ____
                                                                             5                Must be at least 21 days after date       11/1/2024
                                                                                                                                        _____________
                                                                                              of this notice


                                                                                              New total payment:                               3970.01
                                                                                                                                        $ ____________
                                                                                              Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q No
      q Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    1195.39
                   Current escrow payment: $ _______________                                New escrow payment:                  1234.99
                                                                                                                        $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:             _______________%                      New interest rate:          _______________%

                   Current principal and interest payment: $ _______________                New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q No
      q Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                              New mortgage payment: $ _______________


Official Form 410S1                                                  Notice of Mortgage Payment Change                                          page 1
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Debtor 1         Michael    Melendez
                 _______________________________________________________                                  18-17608-amc
                                                                                       Case number (if known) _____________________________________
                 First Name   Middle Name      Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q I am the creditor.
     q I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.


                   /s/ Wendy Locke
 û   _____________________________________________________________
     Signature
                                                                                       Date   10/02/2024
                                                                                              ___________________




 Print:            Wendy   Locke
                   _________________________________________________________           Title Authorized  Agent for Creditor
                                                                                             ___________________________
                    First Name                Middle Name       Last Name



 Company           Aldridge  Pite, LLP
                   _________________________________________________________



 Address           3333 Camino del Rio South, Suite 225
                   _________________________________________________________
                    Number           Street

                   San Diego                       CA      92108
                   ___________________________________________________
                    City                                        State       ZIP Code



 Contact phone     (858) 750-7600
                   ________________________
                                                                                              wlocke@aldridgepite.com
                                                                                       Email ________________________




Official Form 410S1                                           Notice of Mortgage Payment Change                                           page 2
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                                                                            Shellpoint Mortgage Servicing
                                                                                  P.O. Box 10826
                                                                                  Greenville, SC 29603
                                                                                  For Inquiries: 800-365-7107



                                                                                                               Analysis Date:                             September 24, 2024
       MICHAEL MELENDEZ                                                                                        Loan:
       PHYLLIS MELENDEZ
       3688 POWDER HORN DR                                                                                     Property Address:
       FURLONG PA 18925                                                                                        3688 POWDER HORN DRI
                                                                                                               FURLONG, PA 18925




                                                Annual Escrow Account Disclosure Statement - Account History
        THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
      DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
           INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information       Contractual Effective Nov 01, 2024            Prior Esc Pmt      December 01, 2023           Escrow Balance Calculation
P & I Pmt:                  $2,735.02                  $2,735.02        P & I Pmt:                    $2,735.02        Due Date:                                     June 01, 2023
Escrow Pmt:                 $1,177.85                  $1,234.99        Escrow Pmt:                   $1,195.39        Escrow Balance:                                 -$13,629.89
Other Funds Pmt:                $0.00                      $0.00        Other Funds Pmt:                  $0.00        Anticipated Pmts to Escrow:                      $20,216.39
Asst. Pmt (-):                  $0.00                      $0.00        Asst. Pmt (-):                    $0.00        Anticipated Pmts from Escrow (-):                     $0.00
Reserve Acct Pmt:               $0.00                      $0.00        Resrv Acct Pmt:                   $0.00
Total Payment:              $3,912.87                  $3,970.01        Total Payment:                $3,930.41        Anticipated Escrow Balance:                       $6,586.50

Shortage/Overage Information                      Effective Nov 01, 2024          Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                                       amounts or insurance premiums, your escrow balance contains a cushion of
                                                              $14,819.92
Required Cushion                                               $2,469.99          2,469.99. A cushion is an additional amount of funds held in your escrow in order to
Required Starting Balance                                      $6,335.74          prevent the balance from becoming overdrawn when an increase in the
Escrow Shortage                                                    $0.00          disbursement amount occurs. Your lowest monthly balance should not be below
                                                                                  2,469.99 or 1/6 of the anticipated payment from the account.


       ** Since you are in an ac ve bankruptcy, your new payment shown above is the post-pe            on payment amount.
     This is a statement of actual activity in your escrow account from Nov2023 to Oct 2024. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                         Payments to Escrow                  Payments From Escrow                                                  Escrow Balance
        Date             Anticipated      Actual             Anticipated       Actual                 Description                  Required             Actual
                                                                                             Starting Balance                           0.00          6,947.12
       Nov 2023                                1,095.53                                    *                                            0.00          8,042.65
       Nov 2023                                1,095.53                                    *                                            0.00          9,138.18
       Dec 2023                                1,095.53                                    *                                            0.00         10,233.71
       Jan 2024                                1,095.53                                    *                                            0.00         11,329.24
       Jan 2024                                1,095.53                                    *                                            0.00         12,424.77
       Jan 2024                                1,095.53                                    *                                            0.00         13,520.30
       Feb 2024                                1,095.53                                    *                                            0.00         14,615.83
       Mar 2024                                2,191.06                                    *                                            0.00         16,806.89
       Apr 2024                                1,177.85                                    *                                            0.00         17,984.74
       Apr 2024                                                                   1,856.67 * City Tax                                   0.00         16,128.07
       May 2024                                1,177.85                                    *                                            0.00         17,305.92
       May 2024                                1,177.85                                    *                                            0.00         18,483.77
       May 2024                                1,177.85                                    *                                            0.00         19,661.62
       Jun 2024                                1,177.85                                    *                                            0.00         20,839.47
       Aug 2024                                                                   7,862.51 * School Tax                                 0.00         12,976.96
       Sep 2024                                1,177.85                                    *                                            0.00         14,154.81
                                                                                             Anticipated Transactions                   0.00         14,154.81
       Oct 2024                              20,216.39 P                                                                                             34,371.20
                                 $0.00       $37,143.26             $0.00         $9,719.18
       An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
       P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .
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                                                                             For Inquiries: 800-365-7107

                                                                                                        Analysis Date:                          September 24, 2024
                                                                                                        Loan:

                                     Annual Escrow Account Disclosure Statement - Projections for Coming Year
       THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
     DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
          INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

    This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
    Your unpaid pre-petition escrow Amount is $63,163.72. This amount has been removed from the projected starting balance.

    Original Pre-Petition Amouont $63,163.72, Paid Pre-Petition Amount $0.00, Remaining Pre-Petition Amount $63,163.72.
        Date                 Anticipated Payments                                                                       Escrow Balance
                           To Escrow        From Escrow           Description                                    Anticipated           Required
                                                                  Starting Balance                                 6,586.50             6,335.74
    Nov 2024                1,234.99         5,100.74             Hazard                                           2,720.75             2,469.99
    Dec 2024                1,234.99                                                                               3,955.74             3,704.98
    Jan 2025                1,234.99                                                                               5,190.73             4,939.97
    Feb 2025                1,234.99                                                                               6,425.72             6,174.96
    Mar 2025                1,234.99                                                                               7,660.71             7,409.95
    Apr 2025                1,234.99         1,856.67             Town Tax                                         7,039.03             6,788.27
    May 2025                1,234.99                                                                               8,274.02             8,023.26
    Jun 2025                1,234.99                                                                               9,509.01             9,258.25
    Jul 2025                1,234.99                                                                              10,744.00            10,493.24
    Aug 2025                1,234.99         7,862.51             School Tax                                       4,116.48             3,865.72
    Sep 2025                1,234.99                                                                               5,351.47             5,100.71
    Oct 2025                1,234.99                                                                               6,586.46             6,335.70
                           $14,819.88       $14,819.92
     G – Pending Disbursements prior to the bankruptcy filing date. Pre-petition disbursements.

   (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

   Your ending balance from the last month of the account history (escrow balance anticipated) is 6,586.50. Your starting
   balance (escrow balance required) according to this analysis should be $6,335.74.



   We anticipate the total of your coming year bills to be14,819.92. We divide that amount by the number of payments expected during the coming year
   to obtain your escrow payment.
     New Escrow Payment Calculation
     Unadjusted Escrow Payment                                 $1,234.99
     Surplus Reduction:                                            $0.00
     Shortage Installment:                                         $0.00
     Rounding Adjustment Amount:                                   $0.00
     Escrow Payment:                                           $1,234.99

                                             Please read the following important notices as they may affect your rights.

Newrez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will be used for that
purpose. Newrez LLC dba Shellpoint Mortgage Servicing's NMLS ID is 3013.

If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise
you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof,
who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be subject to the automatic stay of
Section 362 of the United States Bankruptcy Code.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important protections for you,
including interest rate protections and prohibiting foreclosure under most circumstances during and twelve months after the servicemember’s military or
other service. Counseling for covered servicemembers is available from Military OneSource(800-342-9647) and the United States Armed Forces Legal
Assistance or other similar agencies. For more information, please visit the Military OneSource website www.militaryonesource.mil/.

Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want
to request information about your loan or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution
or Informational Request, please write to us. Additionally, if you believe we have furnished inaccurate information to credit reporting agencies, please
write to us with specific details regarding those errors and any supporting documentation that you have and we will assist you. Error Resolution,
including concerns of inaccurate information sent to credit reporting agencies, or requests for information should be sent to the following address:

Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected
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in your credit report.                                        Document      Page 5 of 7
A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who is a joint
tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or email to start the
confirmation process.

Our system of record has your preferred language as English.

If you prefer to receive communication in a language other than English, please contact us at800-365-7107 to speak with a translator in your preferred
language about the servicing of your loan or a document you received.

Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 800-365-7107 para hablar con un traductor en el
idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.

如果您要使⽤英语以外的其他语⾔进⾏交流，请致电                                            800-365-7107，我们将根据您⾸选的语⾔安排相应的译员，与您就贷款服务事项或您所接
收的文件进⾏商讨。

Please note that we operate as Newrez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.
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      ALDRIDGE PITE, LLP
      3333 Camino del Rio South
      Suite 225
      San Diego CA 92108
      Telephone: (858) 750-7600
      Facsimile: (619) 590-1385




                                  UNITED STATES BANKRUPTCY COURT

              EASTERN DISTRICT OF PENNSYLVANIA - PHILADELPHIA DIVISION
      In re                                           Case No. 18-17608-amc
      MICHAEL MELENDEZ and PHYLLIS                    Chapter 13
      MELENDEZ AKA PHYLLIS NAPIER-
      MELENDEZ,                                       PROOF OF SERVICE
                       Debtor(s).


              I, Melissa Gonzalez, declare that:

              I am employed by Aldridge Pite, LLP. My business address is: Six Piedmont Center, 3525
     Piedmont Road, N.E., Suite 700, Atlanta, GA 30305. I am over the age of eighteen years and

     not a party to this cause.

              On October 11, 2024, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to

     be served in said case by electronic means through the court’s CM/ECF system or through United

     States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.

              I declare under penalty of perjury that the foregoing is true.



                                                    /s/Melissa Gonzalez
                                                    Melissa Gonzalez




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     PROOF OF SERVICE
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                                        SERVICE LIST

     DEBTOR(S)
     (VIA US MAIL)
     Michael Melendez
     Phyllis Melendez
     3688 Powder Horn Drive
     Furlong, PA 18925

     DEBTOR(S) ATTORNEY
     (VIA ELECTRONIC NOTICE)
     Michael A. Cibik

     CHAPTER 13 TRUSTEE
     (VIA ELECTRONIC NOTICE)
     Kenneth E. West

     U.S. TRUSTEE
     (VIA ELECTRONIC NOTICE)
     United States Trustee




                                              -2-
     PROOF OF SERVICE
